                                                                                         Rev (4/2019)

                     IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE SOUTHERN DISTRICT OF ALABAMA



IN RE:
         Venice Toatley Williams                       Case No.19-

                                                       Chapter 13

SSN: XXX-XX-           0350                   SSN: XXX-XX-

Date: May 16, 2019


                                   CHAPTER 13 PLAN
                              Check if this is an Amended Plan



1.       NOTICES

TO CREDITORS: YOUR RIGHTS MAY BE AFFECTED BY THIS PLAN. YOUR
CLAIM MAY BE REDUCED, MODIFIED, OR ELIMINATED.

You should read this plan carefully and discuss it with your attorney if you have one in this
bankruptcy case. If you do not have an attorney, you may wish to consult one.

If you oppose the plan’s treatment of your claim or any provision of this plan, your attorney or
you must file an objection to confirmation at least 7 days before the date set for the hearing on
confirmation, unless otherwise ordered by the bankruptcy court. The bankruptcy court may
confirm this plan without further notice if no objection to confirmation is filed. See Bankruptcy
Rule 3015.

To file an objection to confirmation. Objections to confirmation may be filed electronically
using the CM/ECF system or by mailing or delivering the objection to the court so that it is
received before the deadline described above. The court’s address is U.S. Bankruptcy Court, 201
St. Louis Street, Mobile, Alabama 36602.

Proofs of claim. Creditors must file timely proofs of claim to be paid by the chapter 13 trustee
pursuant to the plan. Proofs of claim may be filed using the Electronic Proof of Claim (ePOC)
program located on the court’s website at www.alsb.uscourts.gov. You may also file a proof of
claim by mailing or delivering it to the court so that it is received before the claims bar date. The
court’s address is U.S. Bankruptcy Court, 201 St. Louis Street, Mobile, Alabama 36602.

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Confirmation of this plan does not bar the debtor(s), trustee, or a party in interest from objecting
to a claim. Confirmation of this plan does not constitute the allowance or disallowance of the
amount of a creditor’s claim, but it does control how the claim will be paid under the plan.

Debtor(s) must check one box on each line to state whether or not the plan includes each of the
following items. If an item is checked as “not included” or if both boxes are checked, the
provision will be ineffective if set out later in the plan.

 1.1    A limit on the amount of a secured claim,
        set out in § 7.1, which may result in a             INCLUDED          NOT INCLUDED
        partial payment or no payment at all to
        the secured creditor
 1.2    Nonstandard provision, set out in § 13            INCLUDED           NOT INCLUDED
 1.3    Avoidance of security interests or liens      NOT INCLUDED -- requires a separate
                                                      motion or adversary proceeding in this
                                                      district

2.      PAYMENTS AND LENGTH OF PLAN

For __48___ months debtor(s) will make regular monthly payments to the trustee as
follows:

$       300.00                    per month for        48      months

and $                             per month for                months. Insert additional lines if
needed.

Plan payments shall be paid directly to the chapter 13 trustee at the following address: P.O. Box
1779, Memphis, TN 38101-1779. Debtor(s) shall commence plan payments within one month of
the petition date. If the debtor(s) are eligible for a 36 month plan but the term set out above is
greater, debtor(s) move the court to extend the plan term to the proposed period.

3.      PRECONFIRMATION ADEQUATE PROTECTION PAYMENTS TO SECURED
        CREDITORS

The trustee shall make the following adequate protection payments to secured creditors prior to
the confirmation of this plan pursuant to Bankruptcy Code § 1326(a)(1):

          CREDITOR                       COLLATERAL                  AMOUNT OF MONTHLY
                                         DESCRIPTION                       PAYMENT
 United Auto Credit               2012 Ford Escape                  $50.00
 Farmers Furniture                Bedroom Set                       $5.00
 State of Alabama Dept of         All Personal Property             $5.00
 Revenue


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 State of Alabama Dept of           All Personal Property            $5.00
 Revenue
The trustee shall commence making such payments to creditors holding allowed secured claims
consistent with the trustee’s distribution process and only after the timely filing of a proof of
claim by such creditor. Upon confirmation, the treatment of such claims will be governed by
Sections 4 and 7.

4.      POST-CONFIRMATION ALTERNATE MONTHLY PAYMENTS TO SECURED
        CREDITORS

The trustee shall make the following Alternate Monthly Payments (AMP) beginning on the first
distribution after entry of a confirmation order and until the attorney’s fees provided for in
Section 5 are paid in accordance with the applicable local rule or administrative order.

          CREDITOR                       COLLATERAL                     AMOUNT OF AMP
                                         DESCRIPTION                       PAYMENT
 United Auto Credit               2012 Ford Escape                  $50.00
 Farmers Furniture                Bedroom Set                       $5.00
 State of Alabama Dept of         All Personal Property             $5.00
 Revenue
 State of Alabama Dept of         All Personal Property             $5.00
 Revenue

5.      ATTORNEY’S FEES FOR DEBTOR(S)’ BANKRUPTCY COUNSEL

The trustee shall pay the following attorney’s fees pursuant to the applicable local rule or
administrative order.

           DEBTOR’S COUNSEL                              FEE TO BE PAID THROUGH PLAN
 Steven A. Murray                                    $4,000.00

6.      DOMESTIC SUPPORT OBLIGATIONS

The trustee shall pay the following pre-petition domestic support obligations (DSO) pursuant to
Bankruptcy Code § 507(a)(1) unless the claimant agrees or the court orders otherwise. Each
DSO creditor shall receive the proposed Alternative Monthly Payments (AMP) along with the
payments to secured creditors described in Section 4. Once the attorney’s fees are paid in full,
the DSO creditor shall be paid the proposed preference payment along with the payments
described in Sections 7 and 8. The debtor(s) shall directly pay all domestic support obligations
that become due after the filing of the petition. A DSO creditor must file a proof of claim for
any prepetition DSO to be paid by the trustee. Unless otherwise ordered by the court or by
express written consent of the creditor, the amount of a claim for prepetition DSO stated on a
proof of claim filed in accordance with the Bankruptcy Rules controls over any contrary amount
listed below.


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     DSO CREDITOR              SCHEDULED                 AMOUNT OF AMP             PREFERENCE
                             PREPETITION DSO               PAYMENT                  PAYMENT



7.      TREATMENT OF SECURED CLAIMS

7.1    Request for valuation of secured claims, payment of secured claims, and
modification of undersecured claims

This section is effective only if the applicable box in section 1.1 of this plan is checked.

Debtor(s) request that the court determine the value(s) of the collateral and the amount(s) of the
secured claim(s) listed below. For each listed claim, the amount of the secured claim will be
paid in full with interest at the rate stated below.

For each non-governmental secured claim listed below, debtor(s) state that the amount of the
secured claim should be the lesser of (a) the amount of the secured claim stated on the creditor’s
proof of claim and (b) the amount set out in the column headed “Amount of Secured Claim.” If
a non-governmental creditor timely objects to the proposed value of the creditor’s collateral or
the proposed amount of the creditor’s secured claim, the confirmation hearing shall include a
valuation hearing pursuant to 11 U.S.C. § 506 and Bankruptcy Rule 3012 unless otherwise
ordered. If a non-governmental creditor whose claim is listed below fails to timely object, the
creditor shall be deemed to have accepted the amount and treatment of the creditor’s secured
claim set forth below.

For secured claims of governmental units, unless otherwise ordered, the amount of a secured
claim stated on a proof of claim filed in accordance with the Bankruptcy Rules controls over any
contrary amount listed below.

The portion of any allowed claim that exceeds the amount of the secured claim will be treated as
an unsecured claim under section 9 of this plan.

     CREDITOR         COLLATERAL           AMOUNT OF             INTEREST            § 1325(a)(5)
                      DESCRIPTION            SECURED               RATE                 PLAN
                                              CLAIM                                  PAYMENT
 United Auto         2012 Ford            $5,880.00           6%                   $185.00
 Credit              Escape
 Farmers             Bedroom Set          $300.00             0%                   $7.00
 Furniture
 State of            All Personal         $723.00             5%                   $23.00
 Alabama Dept of     Property
 Revenue
 State of            All Personal         $779.00             5%                   $25.00
 Alabama Dept of     Property
 Revenue

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7.2     Secured claims excluded from valuation under Bankruptcy Code § 506

The claims listed below were either: (a) incurred within 910 days before the petition date and
secured by a purchase money security interest in a motor vehicle acquired for the personal use of
the debtor(s), or (b) incurred within 1 year of the petition date and secured by a purchase money
security interest in any other thing of value.

The trustee shall pay these claims in full with interest at the rates stated below. Unless otherwise
ordered by the court, the amount of a secured claim stated on a proof of claim filed in accordance
with the Bankruptcy Rules controls over any contrary amount listed below, but the interest rate is
governed by the plan.

      CREDITOR       COLLATERAL           SCHEDULED             INTEREST           § 1325(a)(5)
                     DESCRIPTION          AMOUNT OF               RATE                PLAN
                                           SECURED                                 PAYMENT
                                            CLAIM




7.3     Curing defaults and maintaining direct payments on long-term secured debt

Debtor(s) shall maintain the following monthly payments and pay them directly to creditor. The
trustee shall pay allowed claims for arrearages at 100% pro rata through this plan without interest
after payments set forth in sections 6, 7.1, and 7.2. A creditor must file a proof of claim for any
arrearage amount in order to be paid by the trustee pursuant to the plan. Unless otherwise
ordered by the court, the arrearage amount stated on a proof of claim filed in accordance with the
Bankruptcy Rules governs over any contrary amount listed below.

       CREDITOR              COLLATERAL              DIRECT PAYMENT            SCHEDULED
                             DESCRIPTION                                       ARREARAGE




8.      PRIORITY CLAIMS (EXCLUDING DOMESTIC SUPPORT OBLIGATIONS)

The trustee shall pay all priority claims pursuant to § 1322(a)(2) in full, pro rata. Unless
otherwise ordered by the court, the claim amount stated on a proof of claim filed in accordance
with the Bankruptcy Rules controls over any contrary amount listed below.

          CREDITOR                    TYPE OF PRIORITY               SCHEDULED AMOUNT



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9.      NONPRIORITY UNSECURED CLAIMS

Allowed nonpriority unsecured claims shall be paid through the distribution of all available
disposable income at a percentage to be determined at confirmation for the number of months set
forth in Section 2. The confirmation order will specify the percentage, and unsecured creditors
will have a supplemental opportunity at that time to object to any preconfirmation plan
amendments which affected the treatment of unsecured claims. No interest shall be paid on
general unsecured claims.

10.     SURRENDERED PROPERTY

Debtor(s) propose to surrender the following collateral. Upon confirmation, the automatic stay
shall terminate as to the surrendered collateral, the co-debtor stay shall terminate as to any debt
listed below, and debtor(s) shall make any surrendered personal property reasonably available to
the creditor. Any claim submitted by the creditor will receive no distribution under the plan until
the creditor files an amended proof of claim reflecting any deficiency after disposition of the
collateral.

             CREDITOR                                COLLATERAL DESCRIPTION




11.     EXECUTORY CONTRACTS, INCLUDING UNEXPIRED LEASES OF REAL OR
        PERSONAL PROPERTY

Debtor(s) assume or reject the following executory contracts (including any unexpired leases of
real or personal property) as set out in the table below.

Assumed executory contracts. Debtor(s) shall make directly to the creditor all contractual
payments which become due between the petition date and confirmation. Upon confirmation,
the executory contract shall be deemed to be assumed. Debtor(s) shall make directly to the
creditor all contractual payments which become due after confirmation. Unless otherwise
provided in section 13, debtor(s) shall cure any prepetition default by making supplemental equal
monthly payments directly to the creditor within the shorter of 6 months from confirmation or
the remaining term of the contract.

Rejected executory contracts. Upon confirmation, the automatic stay shall terminate as to any
property which is the subject of a rejected executory contract, the co-debtor stay shall terminate
as to rejected executory contracts, and debtor(s) shall make any personal property which is the
subject of a rejected executory contract reasonably available to the creditor. Any claim
submitted by a creditor whose executory contract has been rejected will receive no distribution


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under this plan until the creditor files an amended proof of claim reflecting any deficiency
balance remaining following rejection.

        CREDITOR                     PROPERTY DESCRIPTION                 ASSUME          REJECT
 Bernadette Dumas                 House & Lot located at                  X
                                  1100 Joy Lane
                                  Mobile, AL 36617

12.    OTHER PLAN PROVISIONS

12.1   Property of the estate

Property of the bankruptcy estate shall not re-vest in the debtor(s) until discharge or dismissal of
the case. Proceeds from any potential or pending cause of action or other assets not yet
liquidated are property of the estate and must be paid to the chapter 13 trustee pending further
order of the court.

12.2   Monthly bills by creditors or lessors being paid directly

Secured creditors and lessors to be paid directly by the debtor(s) and/or co-debtor(s) may
continue to mail customary monthly notices or coupons notwithstanding the automatic stay.
12.3   Exemption limitations

The debtor(s)’ exemptions in real and personal property are specifically limited to those allowed
under applicable state and federal laws. To the extent that debtor(s)’ asset values exceed
allowable exemption limits, the non-exempt portions are property of the estate and subject to
distribution by the trustee. The terms of this provision shall not be construed to limit or abrogate
the rights of parties in interest to object to exemptions pursuant to the Bankruptcy Code or in any
way limit the debtor(s)’ rights regarding the postpetition equity accrual of assets.

12.4   Payment of filing fee

The trustee will pay the filing fee in a lump sum as an administrative expense before any other
case disbursements. The trustee shall be entitled to the standard commission on such
disbursements.

12.5   Lien retention

The holder of any secured claim listed in sections 7.1 or 7.2 will retain the lien on its collateral
until the earlier of: (a) payment of the underlying debt determined under nonbankruptcy law or
(b) discharge of the underlying debt under Bankruptcy Code § 1328, at which time the lien will
terminate and must be released by the creditor.




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13.    OTHER PLAN PROVISIONS

Under Bankruptcy Rule 3015(c), any nonstandard provisions must be set forth below. A
nonstandard provision is a provision not otherwise included in this district’s Local Form or
deviating from it. Nonstandard provisions set out elsewhere in this plan are void. The following
plan provisions will be effective only if there is a check in the box “Included” in section 1.2.




/s/ Venice Toatley Williams                                        05/16/2019
DEBTOR’S SIGNATURE                                          DATE



DEBTOR’S SIGNATURE                                          DATE


/s/ Steven A. Murray                                               05/16/2019
DEBTOR’S COUNSEL’S SIGNATURE                                DATE




By filing this document, the attorney for debtor(s) (or debtor(s), if unrepresented) certifies
that the wording and order of the provisions in this Chapter 13 plan are identical to those
contained in the model plan for the Southern District of Alabama, other than any
nonstandard provisions included in Section 13.




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